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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     RIGOBERTO SARMIENTO, et al.,                      Case No. 20-cv-07974-BLF (SVK)
                                   8                   Plaintiffs,
                                                                                           ORDER FOLLOWING
                                   9             v.                                        SEPTEMBER 29, 2021 DISCOVERY
                                                                                           HEARING
                                  10     FRESH HARVEST, INC., et al.,
                                                                                           Dkt. Nos. 109, 112
                                  11                   Defendants.

                                  12          The Court held a discovery hearing by Zoom on September 29, 2021. For the reasons
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                                  13   discussed at the hearing, the Court ORDERS as follows:

                                  14      1. Status of Defendants’ September 27, 2021 Document Production: Defendants have

                                  15          produced approximately 1600 additional pages of documents, which Plaintiffs are

                                  16          evaluating. The Court has reviewed the search terms used and custodians searched by

                                  17          Defendants Fresh Harvest and SMD (Dkts. 110, 111) and is satisfied as to the scope of the

                                  18          searches as it relates to the immediate issue of joint employment of Plaintiff Sarmiento.

                                  19          Further requests by Plaintiffs for expedited discovery in advance of briefing on the pending

                                  20          motions for summary judgment must relate back to existing document requests, be

                                  21          narrowly focused, and realistically reflect the impending briefing schedule.
                                          2. FLAG documents (Dkt. 109): The Court has reviewed Plaintiffs’ supplemental
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                                              explanation regarding the relevance of FLAG documents as it relates to the issue of joint
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                                              employment. At the hearing, Defendants argued that FLAG was formed after Plaintiff
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                                              Sarmiento left the employ of Defendant Fresh Foods. In consideration of the submissions
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                                              and argument on this point, the Court ORDERS the production of FLAG Membership
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                                              Agreements as to any Defendant. Responsive documents already produced need not be
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                                              produced again. Plaintiffs’ additional requests as set forth in Dkt. 109 are not relevant to
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                                   1         the pending summary judgment motions and are therefore DENIED without prejudice to

                                   2         reasserting the requests at a later stage of litigation.

                                   3      3. Joint Submission re Requests for Production Nos. 3 and 4 (Third Set of Requests for

                                   4         Production) (Dkt. 112): The Court has reviewed the Parties’ joint submission and taken

                                   5         into consideration the arguments of counsel. Communications among Defendants on the

                                   6         specified topics at any time during Mr. Sarmiento’s employment, regardless of whether the

                                   7         communications refer or relate to Mr. Sarmiento, are relevant to the issue of joint

                                   8         employment by Defendants Fresh Harvest and/or SMD and the remaining Defendants

                                   9         Fresh Foods and Rava Ranches and are proportional to the needs of the case. Accordingly,
                                             the Court ORDERS Defendants Fresh Harvest and SMD to search the email accounts and
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                                             any other mediums of business communication among Defendants, of officers, directors,
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                                             and any other personnel responsible for the identified topics, including Messrs. Rigoberto
                                  12
Northern District of California
 United States District Court




                                             Robles and Oscar Ramos. Defendants are reminded of their obligation to produce all
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                                             responsive documents in their possession, regardless of language of origin. Documents to
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                                             be produced by October 15, 2021.
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                                             SO ORDERED.
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                                       Dated: September 29, 2021
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                                                                                                        SUSAN VAN KEULEN
                                  20                                                                    United States Magistrate Judge

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